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Fill in this information to identify the case:

Debtor name         BMT Designers & Planners, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       February 1, 2022                X
                                                             Signature of individual signing on behalf of debtor

                                                             Ricky Cox
                                                             Printed name

                                                             President
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                  Pg 2 of 45
Fill in this information to identify the case:

Debtor name           BMT Designers & Planners, Inc.

United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                                                                        Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                     $        1,027,614.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                        $        4,718,399.29

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                       $        5,746,013.29


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                     $                    0.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                        $           211,102.36

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                +$       10,201,150.64


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                              $         10,412,253.00




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                   page 1
              22-10123-mg                  Doc 2           Filed 02/01/22 Entered 02/01/22 19:10:09                        Main Document
                                                                        Pg 3 of 45
 Fill in this information to identify the case:

 Debtor name         BMT Designers & Planners, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                  $50.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Truist                                                  Operating                       8340                                  $366,511.61




           3.2.     Truist                                                  Money Market                    4239                                     $2,160.78




           3.3.     Truist                                                  Payroll                         8359                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                   $368,722.39
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                                                                        Pg 4 of 45
 Debtor           BMT Designers & Planners, Inc.                                             Case number (If known)
                  Name


                   HOLDER: Velocis Moore Shirlington; DESCRIPTION: Rent Deposit (Building
           7.1.    Management Company)                                                                                             $30,411.48



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.    HOLDER: Ar Cty Bus License; DESCRIPTION: Business License                                                       $60,502.00




           8.2.    HOLDER: AR Cty Property Tax; DESCRIPTION: Property Tax                                                          $50,502.00




           8.3.    HOLDER: Barney & Barney; DESCRIPTION: Causalty and Surety Insurance                                               $3,971.16




           8.4.    HOLDER: Bloomberg; DESCRIPTION: Subscription                                                                      $2,995.50




           8.5.    HOLDER: Brown Rudnick LLP; DESCRIPTION: Professional Fees                                                         Unknown




           8.6.    HOLDER: CAD; DESCRIPTION: CAD License                                                                         $140,756.56




           8.7.    HOLDER: Creative Systems; DESCRIPTION: Subscription                                                               $1,590.00




           8.8.    HOLDER: Deltek; DESCRIPTION: Software License                                                                   $13,539.11




           8.9.    HOLDER: Prime Clerk LLC; DESCRIPTION: Professional Fees                                                           Unknown



           8.10
           .    HOLDER: Shipconstructor; DESCRIPTION: Subscription                                                                   $3,323.54



           8.11
           .    HOLDER: SSI ; DESCRIPTION: Subscription                                                                              $3,201.19



           8.12
           .    HOLDER: Summit 7 ; DESCRIPTION: Sharepoint Migration                                                               $18,872.25




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 2
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 Debtor         BMT Designers & Planners, Inc.                                                 Case number (If known)
                Name


           8.13
           .    HOLDER: Teneo Capital LLC; DESCRIPTION: Professional Fees                                                                Unknown



           8.14
           .    HOLDER: Willis; DESCRIPTION: BMT D&O Insurance                                                                         $27,143.04




 9.        Total of Part 2.                                                                                                        $356,807.83
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                         4,186,759.85    -                      1,135,239.72 = ....             $3,051,520.13
                                              face amount                        doubtful or uncollectible accounts




           11b. Over 90 days old:                               269,589.25   -                        14,038.75 =....                $255,550.50
                                              face amount                        doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                      $3,307,070.63
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         BMT Designers & Planners, Inc.                                                Case number (If known)
                Name

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office Furniture & Equipment                                              $150,513.68     NET BOOK VALUE                   $150,513.68



 40.       Office fixtures
           Appliances: 2 microwaves, 1 large refrigerator,
           1 mini refrigerator, 1 dishwasher                                           Unknown                                           Unknown



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers located at BMT HQ Arlington
           location                                                                   $96,321.19     NET BOOK VALUE                    $96,321.19


           Computers located at former employee work
           from home locations across 31 states                                      $288,963.57     NET BOOK VALUE                   $288,963.57



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles
           42.1. 10 scale models of ships with a
                     replacement value of $10,000 - $30,000
                     each                                                            $150,000.00                                      $150,000.00




 43.       Total of Part 7.                                                                                                          $685,798.44
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2013 Chevrolet Silverado Truck 2500 VIN
                     1GC2KXC88DZ132695, VA license plate
                     WUH-6977                                                          Unknown                                           Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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 Debtor         BMT Designers & Planners, Inc.                                                Case number (If known)
                Name

           47.2.     2019 GMC Sierra Double Cab Truck VIN
                     2GTV2LEC8K1103131 VA license plate
                     UNN-8138. Purchased 9/6/2019 for
                     $33,142.12                                                        Unknown                                             Unknown



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Geoprobe Direct Push Unit (Track-Mounted)
           Model 54DT                                                                  Unknown                                             Unknown




 51.       Total of Part 8.                                                                                                                 $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used   Current value of
           property                                       extent of           debtor's interest       for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.                                          Leasehold
                                                          improvements
                     2900 S. Quincy St,                   - Buildout
                     Ste 210, Arlington,                  construction
                     VA                                   for move in              $1,027,614.00      NET BOOK VALUE                  $1,027,614.00




 56.       Total of Part 9.                                                                                                         $1,027,614.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 5
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 Debtor         BMT Designers & Planners, Inc.                                               Case number (If known)
                Name



 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims
            Marine Group Boat Works Jordan Patrol Boat contract
            uncompensated effort; Delay, disruption and rework
            due to late or incomplete government and vendor
            furnished information, demand to address excessive
            and late comments, and out of scope requirements.                                                                          Unknown
            Nature of claim         Dispute
            Amount requested                     $649,750.00


            Vigor Works LLC MSV(L) contract uncompensated effort
            and losses due to unilateral scope reduction; REAs,
            delay disruption and rework due to Vigor
            mismanagement, lost schedule incentive, unilateral
            scope reduction, royalty                                                                                                   Unknown
            Nature of claim         Dispute
            Amount requested                    $17,759,938.00



 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                             $0.00
            Add lines 71 through 77. Copy the total to line 90.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 6
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 Debtor         BMT Designers & Planners, Inc.                                               Case number (If known)
                Name

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 7
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 Debtor          BMT Designers & Planners, Inc.                                                                      Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $368,722.39

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $356,807.83

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $3,307,070.63

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $685,798.44

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $1,027,614.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $4,718,399.29            + 91b.            $1,027,614.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $5,746,013.29




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 8
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                                                                        Pg 11 of 45
 Fill in this information to identify the case:

 Debtor name         BMT Designers & Planners, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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                                                                        Pg 12 of 45
 Fill in this information to identify the case:

 Debtor name         BMT Designers & Planners, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                           12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $211,102.36          $211,102.36
           US Department of Revenue                                  Check all that apply.
           Internal Revenue Service                                     Contingent
                                                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Deferred Payroll Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                   $90,853.60
           ABB INC.                                                                    Contingent
           11600 MIRAMAR PARKWAY                                                       Unliquidated
           SUITE 100                                                                   Disputed
           MIRAMAR, FL 33025
                                                                                   Basis for the claim:     Trade Payable
           Date(s) debt was incurred 11/22/21
           Last 4 digits of account number                                         Is the claim subject to offset?           No   Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                   $30,333.34
           ABS CORPORATE                                                               Contingent
           1701 CITY PLAZA DRIVE                                                       Unliquidated
           SPRING, TX 77389                                                            Disputed
           Date(s) debt was incurred 11/18/21
                                                                                   Basis for the claim:     Trade Payable
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?           No   Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 14
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 Debtor       BMT Designers & Planners, Inc.                                                          Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,485.00
          ACQUISITION LOGISTICS ENG                                             Contingent
          6797 NORTH HIGH STREET                                                Unliquidated
          SUITE 324                                                             Disputed
          WORTHINGTON, OH 43085
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred 12/03/21
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $141.00
          ADP SCREENING & SELECTION                                             Contingent
          P.O. BOX 645117                                                       Unliquidated
          CINCINNATI, OH 45264                                                  Disputed
          Date(s) debt was incurred 01/24/22
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $352.00
          ADP, INC.                                                             Contingent
          P.O. BOX 9001006                                                      Unliquidated
          LOUISVILLE, KY 40290                                                  Disputed
          Date(s) debt was incurred 12/27/21
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,267.65
          AECOM                                                                 Contingent
          8324 NORTH STEVEN ROAD                                                Unliquidated
          MILWAUKEE, WI 53223                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,347.20
          AEROTEK, INC.                                                         Contingent
          3689 COLLECTION CENTER DRIVE                                          Unliquidated
          CHICAGO, IL 60693                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $992,063.52
          AFFINITY POWER SYSTEMS                                                Contingent
          P.O. BOX 0498                                                         Unliquidated
          HOUSTON, TX 77001                                                     Disputed
          Date(s) debt was incurred 12/28/21
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $213,774.78
          ALYTIC, INC.                                                          Contingent
          7206 KITCHEN DRIVE                                                    Unliquidated
          KING GEORGE, VA 22485                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $529.21
          AMENTUM SERVICES INC                                                  Contingent
          100 SOUTH CREST DRIVE                                                 Unliquidated
          ATTN: LOCKBOX 116323                                                  Disputed
          STOCKBRIDGE, GA 30281
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,551.33
          AMERICAN EXPRESS                                                      Contingent
          P.O. BOX 1270                                                         Unliquidated
          NEWARK, NJ 07101                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $623.46
          ARAMARK REFRESHMENT                                                   Contingent
          P.O. BOX 21971                                                        Unliquidated
          NEW YORK, NY 10087                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,260.00
          ASTON CARTER, INC.                                                    Contingent
          3689 COLLECTION CENTER DRIVE                                          Unliquidated
          CHICAGO, IL 60693                                                     Disputed
          Date(s) debt was incurred 11/18/21
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $588.41
          BENJAMIN OFFICE SUPPLY                                                Contingent
          758 EAST GUDE DRIVE                                                   Unliquidated
          ROCKVILLE, MD 20850                                                   Disputed
          Date(s) debt was incurred 12/08/21
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,520.00
          BERKELEY RESEARCH GROUP                                               Contingent
          P.O. BOX 676158                                                       Unliquidated
          DALLAS, TX 75267                                                      Disputed
          Date(s) debt was incurred 11/22/21
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $995,610.58
          BMT DAS UK                                                            Contingent
          BERKLEY HOUSE, THE SQUARE                                             Unliquidated
          LOWER BRISTOL ROAD                                                    Disputed
          BATH BA2 3BH, UK
                                                                             Basis for the claim:    Intercompany Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,536,302.43
          BMT GROUP LTD                                                         Contingent
          1 PARK ROAD                                                           Unliquidated
          TEDDIGNTON TW11 OAP                                                   Disputed
          UNITED KINGDOM
                                                                             Basis for the claim:    Intercompany Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $156,254.44
          BMT UK LTD
          BUILDING 14                                                           Contingent
          SHAMROCK QUAY, WILLIAM STREET,                                        Unliquidated
          HAMPSHIRE                                                             Disputed
          SOUTHAMPTON S014 HQL, UK
                                                                             Basis for the claim:    Intercompany Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,660.00
          CADD MICROSYSTEMS, INC.                                               Contingent
          6361 WALKER LANE                                                      Unliquidated
          SUITE 400                                                             Disputed
          ALEXANDRIA, VA 22310
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred 11/17/21
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,258.28
          CALL TOWER, INC.                                                      Contingent
          DEPT LA 23615                                                         Unliquidated
          PASADENA, CA 91185                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,489.84
          CAPITOL DOCUMENT SOLUTION                                             Contingent
          12115 PARKLAWN DRIVE                                                  Unliquidated
          SUITE L                                                               Disputed
          ROCKVILLE, MD 20852
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,191,000.96
          CATERPILLAR, INC.                                                     Contingent
          100 NE ADAMS                                                          Unliquidated
          CATERPILLAR DEFENSE
                                                                                Disputed
          PEORIA, IL 61629
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $15,210.00
          CHARLES ZIGELMAN                                                      Contingent
          10621 GARDEN WAY                                                      Unliquidated
          SPRING VALLEY, CA 91978                                               Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $997.50
          CISCO                                                                 Contingent
          170 WEST TASMAN DRIVE                                                 Unliquidated
          SAN JOSE, CA 95134                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $65,767.02
          CONLEY AND ASSOCIATES                                                 Contingent
          930 KEHRS MILL ROAD                                                   Unliquidated
          SUITE 319                                                             Disputed
          BALLWIN, MO 63011
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $16,515.33
          CYBERSHEATH SERVICES INT                                              Contingent
          11710 PLAZA AMERICA DRIVE                                             Unliquidated
          RESTON, VA 20190                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $19,207.54
          DATA RESEARCH GROUP                                                   Contingent
          233 EAST DAVIS STREET                                                 Unliquidated
          SUITE 400                                                             Disputed
          CULPEPER, VA 22701
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          DAVID BARDASH                                                         Contingent
          2900 S. QUINCY ST, SUITE 210
                                                                                Unliquidated
          ARLINGTON, VA 22206
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Director and officer indemnification
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $421.96
          DE LAGE LANDEN                                                        Contingent
          P.O. BOX 41602                                                        Unliquidated
          PHILADELPHIA, PA 19101                                                Disputed
          Date(s) debt was incurred 12/25/21
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,636.11
          DELL MARKETING L.P.                                                   Contingent
          P.O. BOX 643561                                                       Unliquidated
          C.O DELL USA L.P.                                                     Disputed
          PITTSBURGH, PA 15264
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,286.77
          DELTEK SYSTEMS, INC.                                                  Contingent
          P.O. BOX                                                              Unliquidated
          BALTIMORE, MD 21275                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,400.00
          EAST PARTNERSHIP                                                      Contingent
          9115 WHISPERING DRIVE                                                 Unliquidated
          TOANO, VA 23168                                                       Disputed
          Date(s) debt was incurred 12/11/21
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $87,905.00
          ELEMENT MATERIALS TECHNOL                                             Contingent
          9725 GIRARD AVENUE SOUTH                                              Unliquidated
          MINNEAPOLIS, MN 55431                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,022.59
          EON PRODUCTS                                                          Contingent
          P.O. BOX 443                                                          Unliquidated
          SNELLVILLE, GA 30078                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $165.00
          EUROFINS                                                              Contingent
          P.O. BOX 11407                                                        Unliquidated
          DEPT #220                                                             Disputed
          BIRMINGHAM, AL 35246
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred 11/05/21
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,499.00
          EXOSTAR                                                               Contingent
          2325 DULLES CORNER BOULEVARD                                          Unliquidated
          SUITE 600                                                             Disputed
          HERNDON, VA 20171
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred 11/29/21
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $604.88
          FEDERAL EXPRESS CORP                                                  Contingent
          P.O. BOX 371461                                                       Unliquidated
          PITTSBURGH, PA 15250                                                  Disputed
          Date(s) debt was incurred 11/09/21
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $143,850.00
          FINCANTIERI MARINE GROUP                                              Contingent
          55 M STREET SE                                                        Unliquidated
          SUITE 910                                                             Disputed
          WASHINGTON, DC 20003
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred 12/14/21
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $13,948.00
          FLEXICREW TECHNICAL                                                   Contingent
          7047 LEE HIGHWAY                                                      Unliquidated
          SUITE 100                                                             Disputed
          CHATTANOOGA, TN 37421
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $39,118.11
          FLUET HUBER & HOANG PLLC                                              Contingent
          1751 PINNACLE DRIVE                                                   Unliquidated
          SUITE 1000                                                            Disputed
          TYSONS CORNER, VA 21102
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $26,996.24
          GENESIS STAFFING                                                      Contingent
          3517 LAUGHLIN DRIVE                                                   Unliquidated
          MOBILE, AL 36693                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $402.90
          GUERNSEY OFFICE PRODUCTS                                              Contingent
          P.O. BOX 10846                                                        Unliquidated
          CHANTILLY, VA 20153                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $326.30
          HAMPTON RUBBER                                                        Contingent
          P.O. BOX 1393                                                         Unliquidated
          HAMPTON, VA 23661                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $12,125.00
          HANDY MARINE ENGINEERING                                              Contingent
          8024 16TH AVENUE NW                                                   Unliquidated
          SEATTLE, WA 98117                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $312.50
          HAROLD HANSON                                                         Contingent
          462 BELMONT BAY DRIVE                                                 Unliquidated
          WOODBRIDGE, VA 22191                                                  Disputed
          Date(s) debt was incurred 12/07/21
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $950.00
          HR UNLIMITED, INC.                                                    Contingent
          P.O. BOX 8624                                                         Unliquidated
          FOUNTAIN VALLEY, CA 92728                                             Disputed
          Date(s) debt was incurred 11/29/21
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,700.00
          IHS MARKIT                                                            Contingent
          15 INVERNESS WAY EAST                                                 Unliquidated
          ENGLEWOOD, CO 80112                                                   Disputed
          Date(s) debt was incurred 12/31/20
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $660.00
          INFOTEK CONSULTING LLC                                                Contingent
          11654 PLAZA AMERICA DRIVE                                             Unliquidated
          SUITE 168                                                             Disputed
          RESTON, VA 20190
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred 12/02/21
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,174.58
          JK MOVING SERVICES                                                    Contingent
          44112 MERCURE CIRCLE                                                  Unliquidated
          STERLING, VA 20166                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $12,600.00
          JOHN MERCALDO                                                         Contingent
          21 WATERS EDGE                                                        Unliquidated
          MARSTON MILLS, MA 02648                                               Disputed
          Date(s) debt was incurred 11/30/21
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $467.68
          KASTLE SYSTEMS                                                        Contingent
          P.O. BOX 75151                                                        Unliquidated
          BALTIMORE, MD 21275                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,750.00
          MARINE MEASUREMENTS, LLC.                                             Contingent
          19 LOYOLA TERRACE                                                     Unliquidated
          NEWPORT, RI 02848                                                     Disputed
          Date(s) debt was incurred 12/13/21
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $12,261.40
          MARINE SYSTEMS CORP.                                                  Contingent
          23 DRY DOCK AVENUE                                                    Unliquidated
          SUITE 620W                                                            Disputed
          BOSTON, MA 02210
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred 09/18/21
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,006.00
          MARITIME REPORTER                                                     Contingent
          60 HERRMANN LANE                                                      Unliquidated
          EASTON, CT 06612                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $16,340.00
          MATTHEW P. TEDESCO                                                    Contingent
          1900 ALASKAN WAY #313                                                 Unliquidated
          SEATTLE, WA 98101                                                     Disputed
          Date(s) debt was incurred 01/08/22
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $749.50
          MILES & STOCKBRIDGE                                                   Contingent
          P.O. BOX 746592                                                       Unliquidated
          ATLANTA, GA 30374                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $18,297.53
          NOISE CONTROL ENG., INC.                                              Contingent
          85 RANGEWAY ROAD                                                      Unliquidated
          BLDG 2, 2ND FLOOR                                                     Disputed
          BILLERICA, MA 01862
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $730,235.20
          NORTHROP GRUMMAN                                                      Contingent
          P.O. BOX 301321                                                       Unliquidated
          DALLAS, TX 75303                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       BMT Designers & Planners, Inc.                                                          Case number (if known)
              Name

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $125,117.91
          O'NEIL & ASSOCIATES                                                   Contingent
          495 BYERS ROAD                                                        Unliquidated
          MIAMISBURG, OH 45342                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $542.46
          OFFICE DEPOT                                                          Contingent
          P.O. BOX 88040                                                        Unliquidated
          CHICAGO, IL 60680                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          PAUL SCHNEIDER                                                        Contingent
          2900 S. QUINCY ST, SUITE 210
                                                                                Unliquidated
          ARLINGTON, VA 22206
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Director and officer indemnification
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,029.19
          PEERLESS TECH SOLUTIONS                                               Contingent
          101 E CHARLES STREET                                                  Unliquidated
          SUITE 302                                                             Disputed
          LA PLATA, MD 20646
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred 1/20/2022
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $357.43
          PITNEY BOWES                                                          Contingent
          P.O. BOX 371887                                                       Unliquidated
          GLOBAL FINANCIAL SERVICES LLC                                         Disputed
          PITTSBURGH, PA 15250
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $6,760.00
          PYROGENESIS CANADA INC.                                               Contingent
          1744 WILLIAM STREET, SUITE 200                                        Unliquidated
          MONTREAL, QC H3J 1R4                                                  Disputed
          CANADA
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred 11/04/21
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          RICKY COX                                                             Contingent
          2900 S. QUINCY ST, SUITE 210
                                                                                Unliquidated
          ARLINGTON, VA 22206
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Director and officer indemnification
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       BMT Designers & Planners, Inc.                                                          Case number (if known)
              Name

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          RITA CHAUNDY                                                          Contingent
          2900 S. QUINCY ST, SUITE 210
                                                                                Unliquidated
          ARLINGTON, VA 22206
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Director and officer indemnification
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,536.90
          ROBERT HALF TALENT                                                    Contingent
          1401 I STREET NM                                                      Unliquidated
          SUITE 400                                                             Disputed
          WASHINGTON, DC 20005
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $47,526.66
          RUBINO & MCGEEHIN                                                     Contingent
          6903 ROCKLEDGE DRIVE                                                  Unliquidated
          SUITE 1200                                                            Disputed
          BETHESDA, MD 20817
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,509.39
          SENODA INC                                                            Contingent
          1300 PENNSYLVANIA AVENUE NW                                           Unliquidated
          SUITE 700                                                             Disputed
          WASHINGTON, DC 20004
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred 12/05/21
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $54,283.68
          SHIPCONSTRUCTOR USA                                                   Contingent
          2070 SCHILLINGER ROAD S                                               Unliquidated
          MOBILE, AL 36695                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $134.14
          SHIRLINGTON TOWER                                                     Contingent
          P.O. BOX 70392                                                        Unliquidated
          NEWARK, NJ 07101                                                      Disputed
          Date(s) debt was incurred 01/03/22
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $20,851.64
          SPECTRUM FINANCIAL SERVIC                                             Contingent
          8614 WESTWOOD CENTER DRIVE                                            Unliquidated
          SUITE 700                                                             Disputed
          VIENNA, VA 22182
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       BMT Designers & Planners, Inc.                                                          Case number (if known)
              Name

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $74,055.00
          SSPA                                                                  Contingent
          CHALMERS TVARGATA 10                                                  Unliquidated
          GOTEBORG SE-400 22                                                    Disputed
          SWEDEN
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred 11/22/21
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $35,735.00
          STROM WORLDWIDE                                                       Contingent
          26852 TANIC DRIVE                                                     Unliquidated
          SUITE 101                                                             Disputed
          WESLEY CHAPEL, FL 33544
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,726.83
          SUMMIT 7 SYSTEMS                                                      Contingent
          2 PARADE STREET                                                       Unliquidated
          HUNTVILLE, AL 35806                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $56,577.50
          TRIDENTIS, LLC                                                        Contingent
          1199 N FAIRFAX                                                        Unliquidated
          SUITE 410                                                             Disputed
          ALEXANDRIA, VA 22314
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $238.81
          ULINE                                                                 Contingent
          P.O. BOX 88741                                                        Unliquidated
          ACCOUNTS RECEIVABLE                                                   Disputed
          CHICAGO, IL 60680
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred 12/06/21
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,951.01
          UNISON MARKETPLACE, INC.                                              Contingent
          8500 LEESBURG PIKE                                                    Unliquidated
          SUITE 602                                                             Disputed
          VIENNA, VA 22182
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $114,128.40
          UNISON SYSTEMS, INC.                                                  Contingent
          6130 GREENWOOD PLAZA BLVD                                             Unliquidated
          SUITE 100                                                             Disputed
          GREENWOOD, CO 80111
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       BMT Designers & Planners, Inc.                                                          Case number (if known)
              Name

 3.80      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $725.15
           VERIZON                                                              Contingent
           P.O. BOX 25505                                                       Unliquidated
           LEHIGH VALLEY, PA 18002                                              Disputed
           Date(s) debt was incurred 11/25/21
                                                                             Basis for the claim:    Trade Payable
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $27,000.00
           VICTORIA DLUGOKECKI                                                  Contingent
           746 ROOSEVELT ST                                                     Unliquidated
           FRANKLIN SQUARE, NY 11010                                            Disputed
           Date(s) debt was incurred 1/8/22
                                                                             Basis for the claim:    Trade Payable
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.82      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $169.54
           VISION BUSINESS PRODUCTS                                             Contingent
           P.O. BOX 643897                                                      Unliquidated
           PITTSBURGH, PA 15264                                                 Disputed
           Date(s) debt was incurred 11/29/21
                                                                             Basis for the claim:    Trade Payable
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $9,037.50
           WILLIAM B. HALE                                                      Contingent
           1239 TIESTE DR                                                       Unliquidated
           SAN DIEGO, CA 92107                                                  Disputed
           Date(s) debt was incurred 1/8/22
                                                                             Basis for the claim:    Trade Payable
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $1,075,173.83
           WILMERHALE                                                           Contingent
           1875 PENNSYLVANIA AVENUE NW                                          Unliquidated
           WASHINGTON, DC 20006                                                 Disputed
           Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $8,806.00
           WORKBOAT MAGAZINE                                                    Contingent
           P.O. BOX 360033                                                      Unliquidated
           BOSTON, MA 02241                                                     Disputed
           Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade Payable
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts


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 Debtor       BMT Designers & Planners, Inc.                                                      Case number (if known)
              Name

 5a. Total claims from Part 1                                                                       5a.       $               211,102.36
 5b. Total claims from Part 2                                                                       5b.   +   $            10,201,150.64

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $              10,412,253.00




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 Fill in this information to identify the case:

 Debtor name         BMT Designers & Planners, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               NAVSEA T-ARC STUDY
             the debtor's interest                        SERVICES, DATED
                                                          03/02/2021
                  State the term remaining                3/15/2022                 ABB INC.
                                                                                    11600 MIRAMAR PARKWAY
             List the contract number of any ^Sub under                             SUITE 100
                   government contract       N0002421C221                           MIRAMAR, FL 33025


 2.2.        State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               NAVSEA T-ARC STUDY
             the debtor's interest                        SERVICES

                  State the term remaining                3/15/2022
                                                                                    ABS CORPORATE
             List the contract number of any ^Sub under                             1701 CITY PLAZA DRIVE
                   government contract       N0002421C221                           SPRING, TX 77389


 2.3.        State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               MSVL LOGISTICS
             the debtor's interest                        ANALYSIS SERVICES

                  State the term remaining                                          ACQUISITION LOGISTICS ENG
                                                                                    6797 NORTH HIGH STREET
             List the contract number of any ^Sub under                             SUITE 324
                   government contract       W56HZV-17-D0086                        WORTHINGTON, OH 43085


 2.4.        State what the contract or                   OFFICE PAYROLL
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    ADP, INC.
             List the contract number of any                                        P.O. BOX 9001006
                   government contract                                              LOUISVILLE, KY 40290




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 19
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 Debtor 1 BMT Designers & Planners, Inc.                                                     Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               NSWCCD CODE 63
             the debtor's interest                        CONTRACT SUPPORT
                                                          SERVICES
                  State the term remaining
                                                                                     AECOM
             List the contract number of any ^Sub under                              8324 NORTH STEVEN ROAD
                   government contract       N00178-04-D-4023-FD02                   MILWAUKEE, WI 53223


 2.6.        State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               USCG 140' AND 270'
             the debtor's interest                        SLEP ELECTRICAL
                                                          EQUIPMENT AND
                                                          SERVICES
                  State the term remaining

             List the contract number of any ^Sub under                              AFFINITY POWER SYSTEMS
                   government contract       70Z02320DAVS03000 &                     P.O. BOX 0498
                                             70Z08520CP4561600                       HOUSTON, TX 77001


 2.7.        State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               NSWCCD CODE 63
             the debtor's interest                        CONTRACT SUPPORT
                                                          SERVICES
                  State the term remaining
                                                                                     ALYTIC, INC.
             List the contract number of any ^Sub under                              7206 KITCHEN DRIVE
                   government contract       N00178-04-D-4023-FD02                   KING GEORGE, VA 22485


 2.8.        State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               NSWCCD CODE 63
             the debtor's interest                        CONTRACT SUPPORT
                                                          SERVICES
                  State the term remaining                                           AMENTUM SERVICES INC
                                                                                     100 SOUTH CREST DRIVE
             List the contract number of any ^Sub under                              ATTN: LOCKBOX 116323
                   government contract       N00178-04-D-4023-FD02                   STOCKBRIDGE, GA 30281


 2.9.        State what the contract or                   OFFICE COFFEE
             lease is for and the nature of               MACHINE RENTAL
             the debtor's interest

                  State the term remaining
                                                                                     ARAMARK REFRESHMENT
             List the contract number of any                                         P.O. BOX 21971
                   government contract                                               NEW YORK, NY 10087


 2.10.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1015                    Austal USA
             the debtor's interest                        AUSTAL-IESH_LCS_30,        195 Dunlap Dr
                                                          DATED 07/23/2018           Mobile, AL 36602

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                 Page 2 of 19
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 Debtor 1 BMT Designers & Planners, Inc.                                                     Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining                12/30/2022

             List the contract number of any
                   government contract       **Austal PO D155159


 2.11.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1029
             the debtor's interest                        AUSTAL_EPF_13_CDR
                                                          LS, DATED 06/17/2019
                  State the term remaining                11/30/2022
                                                                                     Austal USA
             List the contract number of any **Austal PO D172426                     195 Dunlap Dr
                   government contract       N00024-19-C-2227                        Mobile, AL 36602


 2.12.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1031
             the debtor's interest                        AUSTAL_LCS32_IESH_
                                                          SUPPORT, DATED
                                                          08/13/2019
                  State the term remaining                12/30/2022
                                                                                     Austal USA
             List the contract number of any **Austal PO D175851                     195 Dunlap Dr
                   government contract       N00024-16-R-2304                        Mobile, AL 36602


 2.13.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1035
             the debtor's interest                        AUSTAL_CDRL_EPF13
                                                          _ECP_, DATED
                                                          04/01/2020
                  State the term remaining                11/30/2022
                                                                                     Austal USA
             List the contract number of any **Austal PO D172426-1                   195 Dunlap Dr
                   government contract       N00024-19-C-2227                        Mobile, AL 36602


 2.14.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1055
             the debtor's interest                        AUSTAL_EPF14_ECP,
                                                          DATED 11/12/2020
                  State the term remaining                1/30/2023
                                                                                     Austal USA
             List the contract number of any **Austal PO D181502-1                   195 Dunlap Dr
                   government contract       N00024-19-C-2227                        Mobile, AL 36602


 2.15.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1034
             the debtor's interest                        AUSTAL_EPF14,
                                                          DATED 01/29/2020
                  State the term remaining                11/22/2022
                                                                                     Austal USA
             List the contract number of any **Austal PO D181502                     195 Dunlap Dr
                   government contract       N00024-19-C-2227                        Mobile, AL 36602

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 Debtor 1 BMT Designers & Planners, Inc.                                                     Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease



 2.16.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1071
             the debtor's interest                        AUSTAL_LAW_CS-PD
                                                          CLIN0003, DATED
                                                          12/16/2021
                  State the term remaining                1/14/2022
                                                                                     Austal USA
             List the contract number of any                                         195 Dunlap Dr
                   government contract       **N00024-21-C-2457                      Mobile, AL 36602


 2.17.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               1001013 BAE
             the debtor's interest                        WALLOPS, DATED
                                                          09/01/2016
                  State the term remaining                6/30/2022                  BAE Systems
                                                                                     Redland Corp Center
             List the contract number of any                                         520 Gaither Rd, Suite 1000
                   government contract       **N0017804D4018_9700                    Rockville, MD 20850


 2.18.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1039 BLOUNT
             the debtor's interest                        BOATS_MD_DNR_IBT

                  State the term remaining
                                                                                     Blount Boats Inc.
             List the contract number of any                                         461 Water St.
                   government contract                                               Warren, RI 02885


 2.19.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               USCG LOW TEMP
             the debtor's interest                        STEEL STUDY
                                                          SUPPORT SERVICES
                  State the term remaining                                           BMT Canada Ltd.
                                                                                     311 Legget Drive
             List the contract number of any ^Sub under                              OTTOWA, ON K2K 1Z8 CANADA
                   government contract       70Z02321PMSE02200


 2.20.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               MSVL, NAVSEA T-ARC,
             the debtor's interest                        LAW DESIGN
                                                          SUPPORT
                  State the term remaining                                           BMT DAS UK
                                                                                     BERKLEY HOUSE, THE SQUARE, LOWER BRISTOL
             List the contract number of any ^Sub under                              ROAD
                   government contract       W56HZV-17-D0086,N00                     BATH, BA2 3BH, UK
                                             02421C221,




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              First Name              Middle Name                    Last Name



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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.21.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               MSVL, JPB DESIGN
             the debtor's interest                        SUPPORT

                  State the term remaining                                           BMT UK LTD
                                                                                     BUILDING 14, SHAMROCK QUAY, WILLIAM STREET
             List the contract number of any ^Sub under                              HAMPSHIRE, SOUTHAMPTON S014 HQL, UK
                   government contract       W56HZV-17-D0086


 2.22.       State what the contract or                   OFFICE COPIER
             lease is for and the nature of               LEASE AGREEMENT
             the debtor's interest

                  State the term remaining                                           CAPITOL DOCUMENT SOLUTION
                                                                                     12115 PARKLAWN DRIVE
             List the contract number of any                                         SUITE L
                   government contract                                               ROCKVILLE, MD 20852


 2.23.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               USCG 270' SLEP
             the debtor's interest                        GENERATOR SUPPLY
                                                          AND SERVICES
                  State the term remaining                                           CATERPILLAR, INC.
                                                                                     100 NE ADAMS
             List the contract number of any ^Sub under                              CATERPILLAR DEFENSE
                   government contract       70Z02320DAVS03000                       PEORIA, IL 61629


 2.24.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               MSVL PROGRAM
             the debtor's interest                        LOGISTICS ANALYSIS
                                                          SERVICES
                  State the term remaining                                           CONLEY AND ASSOCIATES
                                                                                     930 KEHRS MILL ROAD
             List the contract number of any ^Sub under                              SUITE 319
                   government contract       W56HZV-17-D0086                         BALLWIN, MO 63011


 2.25.       State what the contract or                   SUBCONTRACTED IT
             lease is for and the nature of               NETWORKS
             the debtor's interest                        CYBERSECURITY
                                                          SERVICES
                  State the term remaining
                                                                                     CYBERSHEATH SERVICES INT
             List the contract number of any                                         11710 PLAZA AMERICA DRIVE
                   government contract                                               RESTON, VA 20190


 2.26.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               NAVSUP CONTRACT
             the debtor's interest                        EMSWEB SUPPORT
                                                          SERVICES                   DATA RESEARCH GROUP
                  State the term remaining                                           233 EAST DAVIS STREET
                                                                                     SUITE 400
             List the contract number of any ^Sub under                              CULPEPER, VA 22701
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              First Name              Middle Name                    Last Name



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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract                   N00189-20-F-3031


 2.27.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0032
             the debtor's interest                        NAVSUP_EPRWEB_SU
                                                          PPORT, DATED
                                                          07/27/2020
                  State the term remaining                7/26/2025                  DCMA Manassas
                                                                                     14501 George Carter Way
             List the contract number of any                                         2nd Floor
                   government contract       N00189-20-F-3031                        Chantilly, VA 20151


 2.28.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               1005700 CODE 63 -
             the debtor's interest                        OPTION YEAR 6,
                                                          DATED 12/03/2015
                  State the term remaining                6/1/2022                   DCMA Manassas
                                                                                     14501 George Carter Way
             List the contract number of any                                         2nd Floor
                   government contract       N00178-04-D-4023-FD02                   Chantilly, VA 20151


 2.29.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0005
             the debtor's interest                        NAVSEA_IH_LQAO,
                                                          DATED 07/28/2018
                  State the term remaining                7/28/2023                  DCMA Manassas
                                                                                     14501 George Carter Way
             List the contract number of any N00178-04-D-4023                        2nd Floor
                   government contract       N0017418F3007                           Chantilly, VA 20151


 2.30.       State what the contract or                   OFFICE COPIER
             lease is for and the nature of               FINANCING
             the debtor's interest

                  State the term remaining
                                                                                     DE LAGE LANDEN
             List the contract number of any                                         P.O. BOX 41602
                   government contract                                               PHILADELPHIA, PA 19101


 2.31.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               TRAINING PROGRAM
             the debtor's interest                        SUPPORT SERVICES

                  State the term remaining
                                                                                     EAST PARTNERSHIP
             List the contract number of any                                         9115 WHISPERING DRIVE
                   government contract                                               TOANO, VA 23168




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.32.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               MSVL
             the debtor's interest                        ELECTROMAGNETIC
                                                          INTEREFERENCE
                                                          TESTING SERVICES
                  State the term remaining
                                                                                     ELEMENT MATERIALS TECHNOL
             List the contract number of any ^Sub under                              9725 GIRARD AVENUE SOUTH
                   government contract       W56HZV-17-D0086                         MINNEAPOLIS, MN 55431


 2.33.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               NAVSEA T-ARC STUDY
             the debtor's interest                        SERVICES

                  State the term remaining                                           FINCANTIERI MARINE GROUP
                                                                                     55 M STREET SE
             List the contract number of any ^Sub under                              SUITE 910
                   government contract       N0002421C221                            WASHINGTON, DC 20003


 2.34.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1038
             the debtor's interest                        NAASCO_MSDS_SHML
                                                          _ESB6, DATED
                                                          07/07/2020
                  State the term remaining                6/4/2022
                                                                                     General Dynamics NASSCO
             List the contract number of any                                         PO Box 85278
                   government contract       **N00024-19-C-2235                      San Diego, CA 92186


 2.35.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1009 GGF
             the debtor's interest                        SONOMA, DATED
                                                          05/07/2018                 Golden Gate Bridge, Highway and Transpor
                  State the term remaining                12/1/2021                  Administration Building
                                                                                     Golden Gate Bridge Toll Plaza
             List the contract number of any                                         PO Box 9000, Presideo Station
                   government contract                                               San Francisco, CA 94129


 2.36.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               GSA FSS + SCHED 70
             the debtor's interest                        #GS-00F-337CA,
                                                          DATED 09/28/2020
                  State the term remaining                9/27/2025
                                                                                     GSA/FAS/QVOCE
             List the contract number of any                                         77 Forsythe St SW
                   government contract       GS-00F-337CA                            Atlanta, GA 30303


 2.37.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1047 HII_LUSV,          Huntington Ingalls Inc.
             the debtor's interest                        DATED 09/28/2020           1000 Access Rd.
                                                                                     PO Box 149
                  State the term remaining                4/9/2022                   Pascagula, MI 39568
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 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease


             List the contract number of any
                   government contract       **N00024-20-C-6319


 2.38.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ILS3023
             the debtor's interest                        INSIGHT_APO_OPC_S
                                                          UPPORT, DATED
                                                          05/04/2020
                  State the term remaining                7/24/2022                     Insight Technology Solutions, Inc.
                                                                                        17251 Melford Blvd.
             List the contract number of any **GS00Q14OADS106                           Suite 100
                   government contract       70Z023-18-F-APC00800                       Bowie, MD 20715


 2.39.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ILS3000 CPAC
             the debtor's interest                        TRAINING COURSES,
                                                          DATED 10/30/2017
                  State the term remaining                6/29/2022                     ITA International, LLC
                                                                                        700 Tech Center Parkway
             List the contract number of any                                            Suite 202
                   government contract       **HSCG40-F-P45082                          Newport News, VA 23606


 2.40.       State what the contract or                   Subcontracted MSVL
             lease is for and the nature of               RCM solution design,
             the debtor's interest                        supply and installation
                                                          support services
                  State the term remaining                                              JAMES FISHER MARINE SERVICES
                                                                                        MANCHESTER SC PK, PENCROFT WAY
             List the contract number of any ^Sub under                                 UNIT 1, ENTERPRISE HOUSE
                   government contract       W56HZV-17-D0086                            MANCHESTER, M15 6SE UK


 2.41.       State what the contract or                   OFFICE STORAGE
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        JK MOVING SERVICES
             List the contract number of any                                            44112 MERCURE CIRCLE
                   government contract                                                  STERLING, VA 20166


 2.42.       State what the contract or                   OFFICE SECURITY
             lease is for and the nature of               ACCESS
             the debtor's interest

                  State the term remaining
                                                                                        KASTLE SYSTEMS
             List the contract number of any                                            P.O. BOX 75151
                   government contract                                                  BALTIMORE, MD 21275



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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.43.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0056 KBR_DCAST,
             the debtor's interest                        DATED 08/04/2021

                  State the term remaining                8/3/2022
                                                                                     KBR Wyle Services, LLC
             List the contract number of any                                         7000 Columbia Gateway Dr.
                   government contract       **N00421-17-D-0042                      Columbia, MD 21046


 2.44.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1069
             the debtor's interest                        KITSAP_SOLANO,
                                                          DATED 06/07/2021
                  State the term remaining                2/28/2022                  Kitsap Transit
                                                                                     60 Washington Ave
             List the contract number of any                                         Ste. 200
                   government contract                                               Bremerton, WA 98337


 2.45.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1058
             the debtor's interest                        L3_HARRIS_FFG_DES
                                                          GN_HFE, DATED
                                                          12/07/2020
                  State the term remaining                11/1/2022
                                                                                     L3 Maritime Systems
             List the contract number of any                                         90 Nemco Way
                   government contract       **N00024-20-C-2300                      Ayer, MA 01432


 2.46.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               HSTT PHASE IV
             the debtor's interest                        SUPPORT

                  State the term remaining                                           ManTech SRS Technologies, Inc
                                                                                     2251 Corporate Park Dr.
             List the contract number of any                                         Ste 600
                   government contract       **N6247321D2212                         Herndon, VA 20171


 2.47.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1064
             the debtor's interest                        MARE_ISLAND_POLAR
                                                          _STAR, DATED
                                                          02/08/2021
                  State the term remaining                9/15/2022
                                                                                     Mare Island Dry Dock LLC
             List the contract number of any                                         1179 Nimitz Ave
                   government contract       **70Z02321DAPS00200                     Vallejo, CA 94592


 2.48.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1044 MARE
             the debtor's interest                        ISLAND_EMORY,              Mare Island Dry Dock LLC
                                                          DATED 06/17/2020           1179 Nimitz Ave
                  State the term remaining                                           Vallejo, CA 94591
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              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


             List the contract number of any
                   government contract       **N32205-18-C-4552


 2.49.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1056 MGBW JPB
             the debtor's interest                        PHASE2 DES&CONST,
                                                          DATED 11/30/2020
                  State the term remaining                12/31/2023
                                                                                     Marine Group Boat Works
             List the contract number of any                                         1313 Bay Marina Dr.
                   government contract       **N0002418C2223                         National City, CA 91950


 2.50.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               USCG 3D LASER HULL
             the debtor's interest                        SCANNING SERVICES

                  State the term remaining
                                                                                     MARINE MEASUREMENTS, LLC.
             List the contract number of any ^Sub under                              19 LOYOLA TERRACE
                   government contract       70Z04019A61436Y00                       NEWPORT, RI 02848


 2.51.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               MARINE ELECTRICAL
             the debtor's interest                        SYSTEMS
                                                          ENGINEERING
                                                          SUPPORT SERVICES
                  State the term remaining                                           MARINE SYSTEMS CORP.
                                                                                     23 DRY DOCK AVENUE
             List the contract number of any                                         SUITE 620W
                   government contract                                               BOSTON, MA 02210


 2.52.       State what the contract or                   OFFICE ARLINGTON
             lease is for and the nature of               OFFICE LEASE, DATED
             the debtor's interest                        05/09/2019

                  State the term remaining                1/31/2031                  MOORE & ASSOCIATES
                                                                                     4350 EAST-WEST HIGHWAY
             List the contract number of any                                         SUITE 500
                   government contract                                               BETHESDA, MD 20814


 2.53.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1062
             the debtor's interest                        NAVSEA_T-ARC,
                                                          DATED 01/15/2021
                  State the term remaining                3/15/2022                  Naval Sea Systems Command (NAVSEA)
                                                                                     1333 Isaac Hull Ave
             List the contract number of any                                         Bldg 197
                   government contract       N0002421C221                            Washington, DC 20376




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              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.54.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               NAVSEA T-ARC STUDY
             the debtor's interest                        SERVICES

                  State the term remaining                                           NOISE CONTROL ENG., INC.
                                                                                     85 RANGEWAY ROAD
             List the contract number of any ^Sub under                              BLDG 2, 2ND FLOOR
                   government contract       N0002421C221                            BILLERICA, MA 01862


 2.55.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               MSVL C4ISR
             the debtor's interest                        SOLUTION DESIGN,
                                                          SUPPLY
                                                          INSTALLATION AND
                                                          TEST SERVICES
                  State the term remaining
                                                                                     NORTHROP GRUMMAN
             List the contract number of any ^Sub under                              P.O. BOX 301321
                   government contract       W56HZV-17-D0086                         DALLAS, TX 75303


 2.56.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               MSVL LOGISTICS
             the debtor's interest                        ANALYSIS SERVICES

                  State the term remaining
                                                                                     O'NEIL & ASSOCIATES
             List the contract number of any ^Sub under                              495 BYERS ROAD
                   government contract       W56HZV-17-D0086                         MIAMISBURG, OH 45342


 2.57.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               REMBRANDT, DATED
             the debtor's interest                        12/17/2021

                  State the term remaining                3/17/2021                  Pacific Whale Foundation
                                                                                     300 Ma'alaea Road
             List the contract number of any                                         Suite 211
                   government contract                                               Wailuku, HI 96793


 2.58.       State what the contract or                   OFFICE IT HELPDESK
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           PEERLESS
                                                                                     101 Charles Street
             List the contract number of any                                         Suite 302
                   government contract                                               LA PLATA, MD 20646


 2.59.       State what the contract or                   OFFICE MAIL
             lease is for and the nature of               POSTAGE EQUIPMENT          PITNEY BOWES
             the debtor's interest                        RENTAL                     P.O. BOX 371887
                                                                                     GLOBAL FINANCIAL SERVICES LLC
                  State the term remaining                                           PITTSBURGH, PA 15250
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


             List the contract number of any
                   government contract


 2.60.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               NSWCCD CODE 63
             the debtor's interest                        CONTRACT SUPPORT
                                                          SERVICES                   PYROGENESIS CANADA INC.
                  State the term remaining                                           1744 WILLIAM STREET, SUITE 200
                                                                                     MONTREAL, QC H3J 1R4
             List the contract number of any ^Sub under                              CANADA
                   government contract       N00178-04-D-4023-FD02


 2.61.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0048
             the debtor's interest                        REED_INT_PSC_HPS&
                                                          T_SYSTEM, DATED
                                                          05/18/2021
                  State the term remaining                5/17/2023                  Reed Integration, Inc.
                                                                                     7007 Harbour View Blvd
             List the contract number of any **47QREB19D0017                         Suite 117
                   government contract       70Z02321FAPB01200                       Suffolk, VA 23435


 2.62.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ILS3012
             the debtor's interest                        SEASPAN_SUPPORT_
                                                          SERVICES, DATED
                                                          01/03/2019                 SEASPAN Vancouver Shipyards
                  State the term remaining                1/11/2022                  50 Pemberton Avenue
                                                                                     North Vancouver, BC V7P 2R2
             List the contract number of any                                         CANADA
                   government contract


 2.63.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               NAVSEA T-ARC STUDY
             the debtor's interest                        SERVICES
                                                                                     SSPA
                  State the term remaining                                           CHALMERS TVARGATA 10
                                                                                     GOTEBORG SE-400 22
             List the contract number of any ^Sub under                              SWEDEN
                   government contract       N0002421C221


 2.64.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               MATANUSKA SHIP
             the debtor's interest                        VISIT, DATED
                                                          01/12/2022
                  State the term remaining                3/12/2022                  State of Alaska, Department of Transport
                                                                                     6860 Glacier Highway
             List the contract number of any                                         PO Box 112506
                   government contract                                               Juneau, AK 99811


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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


 2.65.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               1004013 DHS SFLC
             the debtor's interest                        IBCTPL SUPPORT,
                                                          DATED 03/27/2021
                  State the term remaining                3/26/2022                  STI Technologies, Inc.
                                                                                     201 S. Denver AVE.
             List the contract number of any **HSCG85-17-F-P45K94                    Suite 300
                   government contract       GS00Q140ADS139                          Tulsa, OK 74103


 2.66.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ILS3025
             the debtor's interest                        SUNSTONE_BOATMAI
                                                          NT_SOFTWR, DATED
                                                          06/04/2021
                  State the term remaining                3/4/2025                   Sunstone Technical Solutions
                                                                                     45240 Business Court
             List the contract number of any                                         Suite 300
                   government contract                                               Sterling, VA 20166


 2.67.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1027 USCG_SCAN,
             the debtor's interest                        DATED 05/20/2019

                  State the term remaining                5/19/2024                  Surface Forces Logistics Center
                                                                                     CPD-3 Shared Services
             List the contract number of any                                         2401 Hawkins Point Road
                   government contract       70Z04019A61436Y00                       Baltimore, MD 21226


 2.68.       State what the contract or                   OFFICE - TACOMA
             lease is for and the nature of               SURGE OFFICE #219
             the debtor's interest                        MEMBERSHIP
                                                          AGREEMENT, DATED
                                                          9/9/21
                  State the term remaining                MONTH TO MONTH, 30         SURGE COWORKING
                                                          DAY NOTICE                 5930 SIXTH AVENUE
             List the contract number of any                                         OFFICE A-01
                   government contract                                               TACOMA, WA 98406


 2.69.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0036 CG-1B3 HSI
             the debtor's interest                        SPT WCC, DATED
                                                          04/04/2021
                  State the term remaining                4/3/2022                   The Kenific Group, Inc.
                                                                                     3975 Fair Ridge Drive
             List the contract number of any **HSHQDC16DP2009                        Ste 250N
                   government contract       70Z02319FAFR92700                       Fairfax, VA 22033




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 Debtor 1 BMT Designers & Planners, Inc.                                                     Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.70.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               MSVL ELECTRICAL
             the debtor's interest                        SYSTEMS DESIGN,
                                                          SUPPLY
                                                          INSTALLATION AND
                                                          TEST SERVICES
                  State the term remaining
                                                                                     TRIDENT MARITIME SYSTEMS
             List the contract number of any ^Sub under                              2840 LAUSAT ST.
                   government contract       W56HZV-17-D0086                         METAIRIE, LA 70001


 2.71.       State what the contract or                   SUBCONTRACTED
             lease is for and the nature of               MSVL ENGINEERING
             the debtor's interest                        SUPPORT

                  State the term remaining                                           TRIDENTIS, LLC
                                                                                     1199 N FAIRFAX
             List the contract number of any ^Sub under                              SUITE 410
                   government contract       W56HZV-17-D0086                         ALEXANDRIA, VA 22314


 2.72.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1037 USCG_RBM
             the debtor's interest                        ONBDING HELO OPS,
                                                          DATED 04/30/2020
                  State the term remaining                4/30/2022
                                                                                     USCG CG-912
             List the contract number of any HSCG23-16-A-PSW002                      2703 Martin Luther King Jr. Ave SE
                   government contract       2420230MNQ008                           Washington, DC 20593


 2.73.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1072 USCG_LOW
             the debtor's interest                        TEMP STEEL, DATED
                                                          09/20/2021
                  State the term remaining                3/19/2022
                                                                                     USCG Headquarters (CG-912)
             List the contract number of any                                         2703 Martin Luther King Jr. Ave SE
                   government contract       70Z02321PMSE02200                       Washington, DC 20593


 2.74.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1070 USCG_NVIC,
             the debtor's interest                        DATED 06/23/2021

                  State the term remaining                6/22/2022
                                                                                     USCG Headquarters (CG-9121)
             List the contract number of any                                         2703 Martin Luther King Jr. Ave SE
                   government contract       70Z02321FMSE01400                       Washington, DC 20593


 2.75.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ILS3021
             the debtor's interest                        USCG_140_WTGB_CLA          USCG SFLC Alameda, Torben Ohlsson
                                                          SS, DATED 02/25/2020       USCG SFLC Bldg, 55
                  State the term remaining                2/24/2025                  Alameda, CA 94501
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 Debtor 1 BMT Designers & Planners, Inc.                                                     Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


             List the contract number of any
                   government contract       70Z08520CP4561600


 2.76.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ILS3024
             the debtor's interest                        USCG_270_SLEP,
                                                          DATED 06/01/2020
                  State the term remaining                5/31/1930                  USCG SFLC DPD SSP ISVS
                                                                                     707 E. Ordnance Rd.
             List the contract number of any                                         Suite 410
                   government contract       70Z02320DAVS03000                       Baltimore, MD 21226


 2.77.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ILS3018
             the debtor's interest                        CG_175WLM_THRUST
                                                          ER_GROOM, DATED
                                                          09/16/2019
                  State the term remaining                9/15/2024                  USCG SFLC Norfolk / Baltimore
                                                                                     300 East Main Street
             List the contract number of any                                         CPD/C&P2/IBCT
                   government contract       70Z08519DP4504500                       Norfolk, VA 23510


 2.78.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0055 ARS GIS
             the debtor's interest                        IRAR DB FY22, DATED
                                                          08/04/2019
                  State the term remaining                7/31/2024                  USDA ARS NEA AAO ACQ
                                                                                     10300 Baltimore Ave
             List the contract number of any 12305B19A0001                           Bldg 003, Rm 223, BARC-WEST
                   government contract       12305B21F0237                           Beltsville, MD 20705


 2.79.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0050 ARS CERCLA
             the debtor's interest                        PROG SUPPORT,
                                                          DATED 10/01/2021
                  State the term remaining                9/30/2022                  USDA ARS NEA AAO ACQ
                                                                                     10300 Baltimore Ave
             List the contract number of any 12305B19A0001                           Bldg 003, RM 231, BARC-WEST
                   government contract       12305B21F0241                           Beltsville, MD 20705


 2.80.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0051
             the debtor's interest                        USDA_ARS_BARC_FY2
                                                          2, DATED 09/28/2021
                  State the term remaining                9/30/2022                  USDA ARS NEA AAO ACQ
                                                                                     10300 Baltimore Ave
             List the contract number of any 12305B19A0001                           Bldg 003, RM 231, BARC-WEST
                   government contract       12305B21F0247                           Beltsville, MD 20705



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 Debtor 1 BMT Designers & Planners, Inc.                                                     Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.81.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0022
             the debtor's interest                        ARS_CERCLA_ANNUA
                                                          L_REQUIRE, DATED
                                                          09/26/2019
                  State the term remaining                9/31/2022                  USDA ARS NEA AAO ACQ
                                                                                     10300 Baltimore Ave
             List the contract number of any 12305B19A0001                           Bldg 003, Rm 223, BARC-WEST
                   government contract       12305B19f0162                           Beltsville, MD 20705


 2.82.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0037 BARC FY21
             the debtor's interest                        QAPP UPDATE, DATED
                                                          09/22/2020
                  State the term remaining                3/31/2022                  USDA ARS NEA AAO ACQ
                                                                                     10300 Baltimore Ave
             List the contract number of any 12305B19A0001                           Bldg 003, Rm 223, BARC-WEST
                   government contract       12305B20F0158                           Beltsville, MD 20705


 2.83.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0040 USDA ARS
             the debtor's interest                        BARC 32, DATED
                                                          09/26/2020
                  State the term remaining                6/30/2022                  USDA ARS NEA AAO ACQ
                                                                                     10300 Baltimore Ave
             List the contract number of any 12305B19A0001                           Bldg 003, Rm 223, BARC-WEST
                   government contract       12305B20F0183                           Beltsville, MD 20705


 2.84.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0041
             the debtor's interest                        USDA_BARC_27_BDRL
                                                          F, DATED 09/27/2020
                  State the term remaining                2/28/2022                  USDA ARS NEA AAO ACQ
                                                                                     10300 Baltimore Ave
             List the contract number of any 12305B19A0001                           Bldg 003, Rm 223, BARC-WEST
                   government contract       12305B20F0120                           Beltsville, MD 20705


 2.85.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0042 USDA_BARC
             the debtor's interest                        IMPLEM_REMEDY,
                                                          DATED 09/24/2020
                  State the term remaining                2/28/2022                  USDA ARS NEA AAO ACQ
                                                                                     10300 Baltimore Ave
             List the contract number of any 12305B19A0001                           Bldg 003, Rm 223, BARC-WEST
                   government contract       12305B20F0189                           Beltsville, MD 20705


 2.86.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0043 USDA ARS           USDA ARS NEA AAO ACQ
             the debtor's interest                        BARC, DATED                10300 Baltimore Ave
                                                          09/28/2020                 Bldg 003, Rm 223, BARC-WEST
                  State the term remaining                2/28/2022                  Beltsville, MD 20705

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 Debtor 1 BMT Designers & Planners, Inc.                                                     Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


             List the contract number of any 12305B19A0001
                   government contract       12305B20F0189


 2.87.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0046
             the debtor's interest                        BARC_CIRCLA_BARC_
                                                          6, DATED 04/07/2021
                  State the term remaining                9/30/2022                  USDA ARS NEA AAO ACQ
                                                                                     10300 Baltimore Ave
             List the contract number of any 12305B19A0001                           Bldg 003, Rm 223, BARC-WEST
                   government contract       12305B21F0045                           Beltsville, MD 20705


 2.88.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0052
             the debtor's interest                        USDA_ARS_BARC_TC
                                                          RA_FY22, DATED
                                                          09/30/2021
                  State the term remaining                9/29/2022                  USDA ARS NEA AAO ACQ
                                                                                     10300 Baltimore Ave
             List the contract number of any 12305B19A0001                           Bldg 003, Rm 223, BARC-WEST
                   government contract       12305B21F0235                           Beltsville, MD 20705


 2.89.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0053
             the debtor's interest                        USDA_ARS_BARC_BD
                                                          RLF, DATED 09/27/2021
                  State the term remaining                9/26/2022                  USDA ARS NEA AAO ACQ
                                                                                     10300 Baltimore Ave
             List the contract number of any 12305B19A0001                           Bldg 003, Rm 223, BARC-WEST
                   government contract       12305B21F0233                           Beltsville, MD 20705


 2.90.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0047
             the debtor's interest                        USDA_FS_REM_REV_&
                                                          _MON, DATED
                                                          07/21/2021
                  State the term remaining                5/31/2023                  USDA Forest Service Southern Region
                                                                                     1720 Peachtree Rd NW
             List the contract number of any AG-43-ZP-B-17-0016                      Ste 876S
                   government contract       12444121F011                            Atlanta, GA 30309


 2.91.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0031 USFS
             the debtor's interest                        ALABAMA EA, DATED
                                                          07/09/2020
                  State the term remaining                9/30/2022                  USDA Forest Service Southern Region
                                                                                     1720 Peachtree Rd NW
             List the contract number of any GS-00F-337CA                            Ste 876S
                   government contract       12414620F0007                           Atlanta, GA 30309


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 Debtor 1 BMT Designers & Planners, Inc.                                                     Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


 2.92.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0049 USFS-CDVMP
             the debtor's interest                        INV 2018-2019, DATED
                                                          08/16/2021
                  State the term remaining                9/14/2022                  USDA-FS CSA East 6
                                                                                     1720 Peachtree St NW
             List the contract number of any GS-00F-337CA                            Ste 876S
                   government contract       12444521F0126                           Atlanta, GA 30309


 2.93.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENV0030
             the debtor's interest                        USFS-PLANE_CRASH_
                                                          CHEROKEE, DATED
                                                          06/15/2020
                  State the term remaining                1/31/2022
                                                                                     USFS Francis Marion Sumter National Fore
             List the contract number of any GS-00F-337CA                            4931 Broad River Rd
                   government contract       12467020F0078                           Columbia, SC 29210


 2.94.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               1004011 TECH
             the debtor's interest                        SUPPORT BALTIMORE,
                                                          DATED 04/24/2021
                  State the term remaining                4/23/2021                  Vector CSP
                                                                                     101 Mill End Court
             List the contract number of any                                         Suite c
                   government contract       **HSCG80-17-F-PBN002                    Elizabeth City, NC 27909


 2.95.       State what the contract or                   OFFICE TELECOM
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     VERIZON
             List the contract number of any                                         P.O. BOX 25505
                   government contract                                               LEHIGH VALLEY, PA 18002


 2.96.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1000 VIG MSVL
             the debtor's interest                        OVERALL PROJECT,
                                                          DATED 09/18/2017
                  State the term remaining                1/5/2022                   Vigor Works LLC
                                                                                     5555 N. Channel Avenue
             List the contract number of any                                         Building No. 71
                   government contract       **W56HZV-17-D0086                       Portland, OR 97217




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 Debtor 1 BMT Designers & Planners, Inc.                                                     Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.97.       State what the contract or                   PRIME CONTRACT
             lease is for and the nature of               ENG1074 POLAR
             the debtor's interest                        SECURITY CUTTER
                                                          PROGRAM (PSC) HSI
                                                          SUPPORT, DATED
                                                          12/20/2021
                  State the term remaining
                                                                                     VT HALTER MARINE, INC.
             List the contract number of any                                         900 BAYOU CASOTTE PKWY
                   government contract       **N00024-19-C-2210                      PASCAGULA, MS 39581


** indicates BMT performance as subcontractor under a Government Prime Contract held by the Counterparty
^ indicates the Counterparty is a subcontractor to BMT performing in support of a Government Prime Contract




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 Fill in this information to identify the case:

 Debtor name         BMT Designers & Planners, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      BMT Group Ltd                     1 Park Road                                       Vigor Works LLC                    D
                                               Teddington TW11 OAP                                                                  E/F
                                               United Kingdom
                                                                                                                                    G   2.96




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 1
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